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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

United States of America, CR-12-001263-PHX-NVW C1 LO A)
Plaintiff, SUPERSEDING
INDICTMENT
VS.

VIO: 180U.S.C.§§ 2332a(a)(1) and (3)
(Conspiracy to Use a Weapon of

Ahmad Ibrahim Al-Ahmad, aka iiss pestruction)
ount
Ahmed Alahmedalabdaloklah, aka
18 U.S.C. §§ BAC), (2) and (n)
Ahmed Hassan Farhan, aka (Conspiracy to Maliciously Damage
or Destro US. Government
Ahmad Ibrahim, aka Fropert y Means of an Explosive)
ount
Ahmad Ebrahim, and aka
18 U.S.C. §§ 924(c)(1)(A) and
Ahmed Hassan Farhan, B)(ii) and 2
Possession of a Destructive Device
Defendant. uring a Crime of Violence and
Aiding and Abetting)
Count 3

18 U.S.C. § 924(0)

(Conspiracy to Possess a
estructive Device During a

Crime of Violence)

Count 4

18 U.S.C. § 2332(b)(2)

(Conspiracy to Commit
xtraterritorial Murder of a United

States National)

Count 5

18 U.S.C. § 2339A

(Providing Material Support to
Terrorists)

Count 6

 

Forfeiture Allegation

 

 

 
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THE GRAND JURY CHARGES:

At all times material to this indictment, within the District of Arizona and
elsewhere:

COUNT 1
(Conspiracy to Use a Weapon of Mass Destruction)

1, Certain component parts used in Improvised Explosive Devices (IED’s), employed
against U.S military personnel and U.S. military vehicles in Iraq, and used in furtherance
of the charges contained in this Indictment were originally manufactured by a company
headquartered in the United States, in the District of Arizona, and traveled in interstate or
foreign commerce. Therefore, pursuant to Title 18, United States Code, Section 3237
jurisdiction is within the venue of the United States District Court for the District of
Arizona. Additionally, the acts referred to in this Indictment were committed in Iraq and
elsewhere outside of the United States, but within the extraterritorial jurisdiction of the
United States and, therefore, pursuant to Title 18, United States Code, Section 3238,
within the venue of the United States District Court for the District of Arizona.
2. The defendant in this case is AHMAD IBRAHIM AL-AHMAD, a Syrian national,
also known as Ahmed Alahmedalabdaloklah, Ahmed Hassan Farhan, Ahmad Ibrahim,
Ahmad Ebrahim, and Ahmed Hassan Farhan, hereinafter AHMAD IBRAHIM AL-
AHMAD.
3. Beginning in or about January, 2005 and continuing to on or about July, 2010, in Iraq
and elsewhere outside of the United States, defendant, AHMAD IBRAHIM AL-
AHMAD, did knowingly combine, conspire, confederate, and agree together and with
other persons, both known and unknown to the grand jury, without lawful authority, to
use a weapon of mass destruction, that is, a destructive device, against nationals of the
United States, while such nationals were outside the United States and against property
that was owned, leased and used by the United States outside the United States.

4. In furtherance of the aforesaid conspiracy and to accomplish the objects thereof,

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defendant, AHMAD IBRAHIM AL-AHMAD, together with his co-conspirators, both
known and unknown to the Grand Jury, committed, among others, the following overt
acts:

a. Beginning in or about January, 2005 and continuing to on or about July,
2010, AHMAD IBRAHIM AL-AHMAD procured component parts for wireless
initiation systems to be used in radio-controlled improvised explosive devices (IEDs)
including from, but not limited to, a company headquartered in the District of Arizona.

b. In and before August 2006, defendant, AHMAD IBRAHIM AL-AHMAD
utilized a house located at 50 Omar Street, Baghdad, Iraq, to manufacture parts for
wireless initiation systems to be used in radio-controlled IEDs which were used to target
U.S. military personnel and U.S. military vehicles in Iraq.

é. In and before August 2006, AHMAD IBRAHIM AL-AHMAD designed
Dual Tone Multi Frequency (DTMF) decoder custom circuit boards which were utilized
in radio-controlled IEDs that were used to target U.S. military personnel and U.S.
military vehicles in Iraq.

d. Beginning in or about January, 2005 and continuing to on or about July,
2010, Ahmad Ibrahim Al-Ahmad communicated with coconspirators, both known and
unknown, regarding attacks against Americans in Iraq.

e. Beginning in or about January, 2005 and continuing to on or about July,
2010, defendant, AHMAD IBRAHIM AL-AHMAD, supplied component parts to
members and associates of the 1920 Revolution Brigades, an Iraqi insurgent group.
Those parts were then used in improvised explosive devices (IEDs) that were employed
against United States military personnel and U.S. military vehicles in Iraq. Unknown
coconspirators of defendant, AHMAD IBRAHIM AL-AHMAD, then employed the
component parts against U.S. military personnel including, but not limited to the
following:

i. On April 6, 2007, in the outskirts of southern Baghdad, near

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Baghdad International Airport, three U.S. soldiers were killed in action by a
cellular phone initiated IED. The IED initiator used in this incident included a
DIMF custom circuit that matched three circuits recovered from 50 Omar Street,
Baghdad, Iraq in August 2006.

ii. On May 14, 2007, in northern Baghdad, approximately one-half mile
from the 50 Omar Street, Baghdad, Iraq, one U.S. soldier was killed in action and
four wounded in action by a cellular phone initiated IED. The IED electronic
switch used in this incident included a DTMF custom circuit that was very similar
to three custom circuits recovered from 50 Omar Street, Baghdad, Iraq in August
2006
All in violation of Title 18, United States Code, Section 2332a(a)(1) and (3).

COUNT TWO
(Conspiracy to Maliciously Damage or

Destroy U.S. Government Property by Means of an Explosive)

1. Paragraphs 1 through 4 of Count One of this Indictment are hereby incorporated
by reference as if fully re-alleged and restated herein.

2. Beginning in or about January, 2005 and continuing to on or about July, 2010, in
Iraq and elsewhere outside of the United States, defendant, AHMAD IBRAHIM AL-
AHMAD, did knowingly combine, conspire, confederate, and agree together and with
other persons, both known and unknown to the grand jury, to maliciously damage,
destroy, attempt to damage, attempt to destroy, vehicles, used by the United States
Military in Iraq, in whole and in part owned, or possessed by the United States
Department of Defense, a department of the United States) by means of explosives.

All in violation of Title 18, United States Code, Section 844(f)(1), (2) and (n).

 
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COUNT THREE
(Possession of a Destructive Device During a Crime
of Violence and Aiding and Abetting)
1. Paragraphs 1 through 4 of Count One of this Indictment are hereby incorporated
by reference as if fully re-alleged and restated herein.
2. Beginning in or about January, 2005 and continuing to on or about July, 2010, in
Iraq and elsewhere outside of the United States, defendant, AHMAD IBRAHIM AL-
AHMAD, aided and abetted other persons, both known and unknown to the grand jury, to
knowingly possess a firearm, that is, a destructive device, during and in relation to a
crime of violence for which they may be prosecuted in a court of the United States, that
is, Conspiracy to Use a Weapon of Mass Destruction, as set forth in Count One of this
Indictment and Conspiracy to Maliciously Damage or Destroy U.S. Government Property
by Means of an Explosive, as set forth in Count Two of this Indictment.
All in violation of Title 18, United States Code, Sections 924(c)(1)(A) and (B)(ii)

and 2.

COUNT FOUR

(Conspiracy to Possess a Destructive Device During a Crime of Violence)

l. Paragraphs 1 through 4 of Count One of this Indictment are hereby incorporated
by reference as if fully re-alleged and restated herein.
2. Beginning in or about January, 2005 and continuing to on or about July, 2010, in
Iraq and elsewhere outside of the United States, defendant, AHMAD IBRAHIM AL-
AHMAD, did knowingly combine, conspire, confederate, and agree together and with
other persons, both known and unknown to the grand jury to commit an offense under
Title 18, United States Code, Section 924(c), that is, to possess a firearm, that is, a
destructive device, during and in relation to a crime of violence for which he may be
prosecuted in a court of the United States, that is, Conspiracy to Use a Weapon of Mass

Destruction, as set forth in Count One of this Indictment, and Conspiracy to Maliciously

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Damage or Destroy U.S. Government Property by Means of an Explosive, as set forth in
Count Two of this Indictment.
All in violation of Title 18, United States Code, Section 924(0).
COUNT FIVE
(Conspiracy to Commit Extraterritorial Murder of a United States National)

1. Paragraphs 1 through 4 of Count One of this Indictment are hereby
incorporated by reference as if fully re-alleged and restated herein.

2. Beginning in or about January, 2005 and continuing to on or about July, 2010,
in Iraq and elsewhere outside of the United States, defendant, AHMAD
IBRAHIM AL-AHMAD, and others both known and unknown, did knowingly
combine, conspire, confederate and agree together and with other persons to
kill a national of the United States while such national was outside the United
States, with Malice aforethought.

All in violation of Title 18, United States Code, Section 2332(b)(2).
COUNT SIX
(Providing Material Support to Terrorists)

L. Paragraphs 1 through 4 of Count One of this Indictment are hereby incorporated
by reference as if fully re-alleged and restated herein.
2. Beginning in or about January, 2005 and continuing to on or about July, 2010, in
Iraq and elsewhere outside of the United States, defendant, AHMAD IBRAHIM AL-
AHMAD, provided material support or resources knowing and intending that the support
was to be used in preparation for and in carrying out a violation of Title 18, United States
Code, Section 2332(b)(2) (conspiracy to kill a United States national).

All in violation of Title 18, United States Code, Section 2339A.

FORFEITURE ALLEGATION

1. The allegations contained in Counts One through Six of this Indictment are hereby

re-alleged and incorporated by reference for the purpose of alleging forfeitures pursuant

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to Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States Code,
Section 2461(c).

2. Upon conviction of the offenses set forth in this Indictment, defendant, Ahmad
Ibrahim Al-Ahmad, shall forfeit to the United States of America, pursuant to Title 18,
United States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section
2461(c), any property, real or personal, which constitutes or is derived from proceeds

traceable to the offense.

3: If any of the property described above, as a result of any act or omission of the
defendant:
a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be divided without
difficulty,

the United States of America shall be entitled to forfeiture of substitute property pursuant
to Title 21, United States Code, Section 853(p), as incorporated by Title 28, United States
Code, Section 2461(c).

All pursuant to Title 18 United States Code, Section 981(a)(1)(C) and Title 28
United States Code, Section 2461(c).

A TRUE BILL
/s/

FOREPERSON OF THE GRAND JURY
Date: August 12, 2014

 

JOHN 8. LEONARDO
United States Attorney
District of Arizona

/s/

Assistant U.S. Attorney

 
